
PER CURIAM.
Upon consideration of the record and briefs of counsel for the respective parties, we determine the trial court erred in awarding to appellee $5,000 in personal injury protection (P.I.P.) insurance benefits from appellant after appellee had already collected $5,000 in P.I.P. benefits from another insurance company. Section 627.-736(4)(e), Fla.Stat.; State Farm Mutual Automobile Insurance Co. v. Kilbreath, 362 So.2d 474 (Fla. 4th DCA 1978).
Accordingly, the judgment of the trial court is reversed.
CROSS and BERANEK, JJ., and SCHWARTZ, ALAN R., Associate Judge, concur.
